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            ATTORNEYS FOR PLAINTIFF
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     17                          IN THE UNITED STATES DISTRICT COURT
     18
                               FOR THE EASTERN DISTRICT OF WASHINGTON

     19       EQUAL EMPLOYMENT
              OPPORTUNITY COMMISSION                           CIVIL ACTION NO. 2:21-cv-00347-SAB
     20

     21                              Plaintiff,
     22                                                        [PROPOSED] CONSENT DECREE
                                      v.
     23

     24       AIR CONTROL HEATING & AIR
              CONDITIONING, INC. d/b/a AIR
     25       CONTROL HEATING &
     26       ELECTRIC, INC.
                                     Defendant.

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      1
                                                  I.    INTRODUCTION

      2          1. Plaintiff Equal Employment Opportunity Commission (“EEOC”) filed this
      3
                     lawsuit on December 14, 2021 against Defendant Air Control Heating & Air
      4

      5
                     Conditioning (“Air Control” or “Defendant”) alleging violations of Title VII

      6              of the Civil Rights Act of 1964 and Title I of the Civil Rights Act of 1991.
      7
                     The EEOC alleged that Defendant deprived two former employees who filed
      8

      9
                     Charge Numbers 551-2019-00924 and 551-2020-02709 with the EEOC

     10              (“Charging Parties”) and a class of similarly aggrieved employees
     11
                     (“Claimants”) of equal employment opportunities by subjecting them to
     12

     13
                     unlawful sexual harassment, including a hostile work environment, based on

     14              their sex, female, and subjected the Charging Party who filed Charge 551-
     15
                     2020-02709 to constructive discharge.
     16

     17          2. The parties want to conclude fully and finally all claims arising out of the

     18              EEOC’s Complaint and Charge Numbers 551-2019-00924 and 551-2020-
     19
                     02709. The EEOC and Defendant enter into this Consent Decree to further
     20

     21              the objectives of equal employment opportunity as set forth in the Civil
     22
                     Rights Acts of 1964 and 1991.
     23

     24

     25                                 II.    JURISDICTION AND VENUE
     26
                 3. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,


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      1
                     1337, 1343 and 1345. This action is authorized and instituted pursuant to

      2              sections 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, as
      3
                     amended, 42 U.S.C. section 2000e et seq. ("Title VII") and section 102 of
      4

      5
                     the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

      6          4. The Employment practices alleged to be unlawful were committed within
      7
                     the jurisdiction of the United States District Court for the Eastern District of
      8

      9
                     Washington.

     10

     11
                                           III.     SETTLEMENT SCOPE
     12

     13
                 5. This Consent Decree is intended to serve as, and is, the full, final, and

     14              complete resolution of any and all allegations or claims of unlawful
     15
                     employment practices that were contained in Charge Numbers 551-2019-
     16

     17              00924, 551-2020-02709, in the EEOC’s administrative determination for

     18              each charge, and in the EEOC’s Complaint filed in this lawsuit, including
     19
                     any and all claims by the parties for attorney fees and costs.
     20

     21          6. This Decree applies to Air Control Heating & Air Conditioning d/b/a Air
     22
                     Control Heating and Electric, and its successors and assigns including any
     23
                     purchaser of all or a portion of its assets during the term of the Consent
     24

     25              Decree.
     26
                 7. This Consent Decree is binding on any individual, entity and/or successor


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      1
                     after it acquires any ownership interest in any component of Defendant’s

      2              operations. Any purchase-sale agreement in whole or in part of Defendant’s
      3
                     business or assets, assumption of control agreement or similar agreement
      4

      5
                     that Defendant enters into with any successor shall comply with the terms of

      6              this Consent Decree.
      7
                 8. During the duration of this Consent Decree, Defendant will provide prior
      8

      9
                     written notice to any potential or actual purchaser of their business(es), or a

     10              purchaser of all or a portion of Defendant’s assets, and to any other potential
     11
                     successor, of the EEOC's Complaint, the allegations raised in the EEOC's
     12

     13
                     Complaint, and the existence and contents of this Consent Decree.

     14          9. Defendant shall provide written notice to EEOC within ten (10) business
     15
                     days after the purchase-sale date of Defendant’s business, the purchase-sale
     16

     17              date of all or a portion of Defendant’s asserts, or the execution date of an

     18              agreement providing for a third party to assume control over the operation or
     19
                     management of Defendant’s business in whole or in part. On EEOC’s
     20

     21              request, Defendant shall provide within ten (10) business days all
     22
                     documentation supporting the purchase-sale agreement or assumption of
     23
                     control. EEOC shall determine whether any business entity constitutes a
     24

     25              legally bound successor (“successor entity”) for purposes of Consent Decree
     26
                     compliance. EEOC shall notify Defendant of its determination as to


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      1
                     successor entity status within thirty (30) business days of receipt of

      2              documentation supporting the purchase-sale agreement or assumption of
      3
                     control.
      4

      5
                 10.No waiver, modification or amendment of any provision of this Consent

      6              Decree shall be effective unless made in writing and approved by the Parties
      7
                     to this Decree, and any substantive change, modification or amendment of
      8

      9
                     any provision of this Consent Decree shall also require approval by the

     10              Court.
     11

     12

     13                                      IV.     MONETARY RELIEF

     14          11.Defendant shall pay the Charging Parties and Claimants a total gross amount
     15
                     of three hundred fifty thousand dollars ($350,000) within ten (10) business
     16

     17              days of the entry date of this Consent Decree and receipt by Defendant of

     18              W-9s. In addition, Defendant shall issue a paycheck in the gross amount of
     19
                     eleven thousand dollars ($11,000) that is payable to one Charging Party.
     20

     21              Within three (3) days of the entry of this Consent Decree, the Commission
     22
                     shall provide Defendant with an accounting of the specific amounts to be
     23
                     paid to each Charging Party and Claimant indicating the reason for the
     24

     25              payment, i.e., lost wages or non-wage damages for emotional distress, along
     26
                     with the address where each payment should be mailed. The payment to one


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      1
                     Charging Party for wage damages shall be less standard tax withholdings.

      2              The non-wage payments to each Charging Party and Claimant shall not be
      3
                     reduced by any tax withholdings. Defendant will issue an IRS form W-2 for
      4

      5
                     the wage payment and an IRS form 1099-MISC for the non-wage payments.

      6              Defendant shall simultaneously transmit copies of the checks, together with
      7
                     an accounting of the employee deductions and employer contributions made
      8

      9
                     and tracking information for the delivery of the checks to: EEOC-

     10              SEFO_COMPLIANCE@eeoc.gov and SEFO-AIRCONTROL@eeoc.gov.
     11
                 12.Defendant will not condition the receipt of monetary relief on the Charging
     12

     13
                     Parties’ or any Claimant’s agreement to (a) maintain as confidential the facts

     14              and/or allegations underlying their claim and the Complaint and the terms of
     15
                     this Decree; (b) waive her statutory right to file a charge with any
     16

     17              governmental agency; (c) refrain from reapplying for a job with Defendants;

     18              or (d) a non-disparagement and/or confidentiality agreement.
     19

     20

     21                            V.     INJUNCTIVE AND OTHER RELIEF
     22
                 A. GENERAL PROVISIONS
     23
                 13.Defendant, including Maxim Johnston, its owners, officers, agents,
     24

     25              managers, supervisors, and all human resource professionals are enjoined
     26
                     from engaging in practices which constitute harassment based on any


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      1
                     employee’s sex (female).

      2          14.In recognition of its obligations under Title VII, Defendant shall institute the
      3
                     policies and practices described below.
      4

      5
                 B. INDEPENDENT CONSULTANT

      6          15.Within thirty (30) days of the entry date of this Consent Decree, Defendant
      7
                     shall retain a third-party independent consultant (“Consultant”) with
      8

      9
                     expertise and experience in employment discrimination, including sex

     10              harassment, under Title VII of the Civil Rights Act and related employment
     11
                     policies and practices, and workplace investigations. A Consultant must be
     12

     13
                     retained for the entire duration of the Consent Decree. Ten (10) days prior

     14              to the retention of any Consultant, Defendant shall provide materials related
     15
                     to the Consultant’s qualifications, experience and expertise, particularly as
     16

     17              they relate to and are consistent with advancing the purpose and

     18              requirements of the Consent Decree, to the EEOC for review and comment.
     19
                     Within five (5) days of receipt, the EEOC will advise the Defendant of any
     20

     21              comments. The Defendant shall bear all costs of retaining the Consultant to
     22
                     perform the duties required by this Consent Decree.
     23
                 16.The Consultant will maintain a dedicated phone number and email address
     24

     25              for Air Control employees to submit complaints of discrimination based on
     26
                     sex, including sexual harassment and hostile work environment, and


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      1
                     retaliation, directly to the Consultant. If Defendant receives such a

      2              complaint, Defendant will notify the Consultant within twenty-four (24)
      3
                     hours of its receipt of the complaint.
      4

      5
                 17.Defendant will ensure that the Consultant performs the following duties over

      6              the duration of the Consent Decree:
      7
                          a. Assist with the development and implementation of anti-
      8

      9
                               discrimination policies and procedures that prohibit discrimination,

     10                        including sexual harassment, and retaliation as described in
     11
                               Paragraphs 20-25;
     12

     13
                          b. Receive and independently and confidentially investigate any

     14                        complaint of discrimination, sexual harassment and/or retaliation in
     15
                               accordance with the provisions of Paragraph 23;
     16

     17                   c. Determine appropriate disciplinary or corrective action to resolve a

     18                        complaint of discrimination, sexual harassment or retaliation;
     19
                          d. Maintain detailed written records of all complaints of discrimination,
     20

     21                        sexual harassment and retaliation, the investigation of such
     22
                               complaints, and the resolution of such complaints;
     23
                          e. Follow up with each complainant during the investigation and within
     24

     25                        sixty (60) days after the conclusion of the investigation and inquire
     26
                               whether the complainant has been subjected to retaliation and


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      1
                               investigate if the complainant claims retaliation;

      2                   f. Determine the remedial action to be upon substantiating a complaint
      3
                               of discrimination, sexual harassment and retaliation, which Defendant
      4

      5
                               will follow; and

      6                   g. Provide a report to the EEOC within twenty-one (21) days of
      7
                               completion of the investigation of a complaint. The report shall
      8

      9
                               include the following written records: the complaint, the investigation

     10                        of the complaint, the findings of the complaint, the remedial action, if
     11
                               any, and confirmation that Defendant complied with the Consultant’s
     12

     13
                               directive.

     14          18.The Consultant will send quarterly emails to all Defendant employees
     15
                     identifying themself as the independent Consultant, explaining the
     16

     17              Consultant’s role pursuant to this Consent Decree, and advising that the

     18              Consultant is available to respond to any complaints of discrimination based
     19
                     on sex, including sexual harassment and hostile work environment, and
     20

     21              retaliation. The Consultant will provide in the email to employees the
     22
                     Consultant’s contact information and a copy of Defendant’s sexual
     23
                     harassment and retaliation policy.
     24

     25          19.Defendant shall ensure that the Consultant will have access to all records,
     26
                     documents, data and other sources of information, including the ability to


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      1
                     interview Defendant’s personnel, which the Consultant deems necessary or

      2              appropriate to perform the duties required by the Consent Decree.
      3
                 C. ANTI-DISCRIMINATION POLICIES AND PROCEDURES
      4

      5
                 20.Within ninety (90) days from the date of entry of this Consent Decree and

      6              for its duration, Defendant shall develop, with the assistance of the
      7
                     Consultant, and implement anti-discrimination policies and procedures that
      8

      9
                     prohibit discrimination, including sexual harassment, and retaliation, explain

     10              to employees their rights and responsibilities under the EEO laws, and is
     11
                     subject to periodic updating to reflect changes in anti-discrimination laws.
     12

     13
                     The policies will state that they are promulgated at the direction of and with

     14              the endorsement by the highest level of the company. These policies and
     15
                     procedures shall be provided to the EEOC for review and comment no later
     16

     17              than thirty (30) days prior to implementation. Within fifteen (15) days of

     18              receipt, the EEOC will advise the Defendant of any comments.
     19
                 21.Defendant’s anti-discrimination policies shall contain specific provisions
     20

     21              prohibiting sexual harassment and retaliation. The harassment section of the
     22
                     policies will provide a definition of sexual harassment and must include
     23
                     statements that: (1) employees have the right to be free from harassing
     24

     25              behavior while at work, including inappropriate behavior from the officers
     26
                     and owners of the company, and (2) retaliation against persons who make


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      1
                     complaints of discrimination or participate or act as witnesses in

      2              investigations of discrimination complaints is strictly prohibited.
      3
                 22.The policies against discrimination and harassment shall include, at a
      4

      5
                     minimum, the following provisions:

      6                   a. A strong and clear commitment to a workplace free of sexual
      7
                               harassment and retaliation with statements prohibiting sex harassment
      8

      9
                               and retaliation;

     10                   b. Clear and comprehensive description of sexual harassment (both quid
     11
                               pro quo and hostile work environment) and retaliation, with examples
     12

     13
                               specific to Defendant’s workplace and industry;

     14                   c. A statement encouraging employees to come forward if they believe
     15
                               they have been harassed or retaliated against for complaining about
     16

     17                        discrimination or harassment;

     18                   d. A description of the possible consequences up to and including
     19
                               termination that will be imposed for violation of the policy against
     20

     21                        sexual harassment and retaliation;
     22
                          e. A clearly described complaint process that provides accessible and
     23
                               confidential avenues of complaint with the contact information,
     24

     25                        including name, address, and telephone number of persons both
     26
                               internal at Defendant and external (Consultant and EEOC) to whom


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      1
                               employees can report sexual harassment and retaliation;

      2                   f. A statement that Defendant shall notify the Consultant within twenty-
      3
                               four (24) hours about any complaint of sexual harassment or
      4

      5
                               retaliation it receives, as well as any incidents of sexual harassment or

      6                        retaliation Defendant observes or becomes aware of;
      7
                          g. A statement that the Consultant shall have the sole responsibility of
      8

      9
                               investigating and responding to the complaints;

     10                   h. A statement that Defendant shall be bound by the Consultant’s
     11
                               determinations regarding complaints of sexual harassment and
     12

     13
                               retaliation and the remedial action to be taken when a complaint is

     14                        substantiated;
     15
                          i. A statement that employees may also bring their complaints directly
     16

     17                        to the EEOC and identify the EEOC’s website address, telephone

     18                        number, and email address;
     19
                          j. A statement of commitment, that to the maximum extent feasible,
     20

     21                        confidentiality of the person bringing complaints about sexual
     22
                               harassment and retaliation will be maintained;
     23
                          k. A statement that Defendant’s sexual harassment and retaliation
     24

     25                        policies apply to all persons, including owners, directors, management
     26
                               officials, supervisors, vendors, suppliers, third parties, and customers;


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      1
                          l. Assurance that Defendant will take immediate and appropriate

      2                        corrective action as determined by the Consultant when a complaint of
      3
                               harassment or retaliation has been substantiated; and
      4

      5
                          m. Assurance that Defendant’s disciplinary policies hold all employees,

      6                        including, owners, directors, management officials, and supervisors
      7
                               accountable for engaging in conduct prohibited by its policies and
      8

      9
                               procedures or failing to take appropriate action required by this

     10                        Consent Decree.
     11
                 23.Defendant’s anti-discrimination and anti-retaliation policies shall also
     12

     13
                     include an investigation procedure to ensure fair and competent

     14              investigations of complaints of discrimination. The procedures shall, at a
     15
                     minimum, include requirements that: (a) all reports and complaints of
     16

     17              discrimination will be investigated; (b) Defendant will advise the Consultant

     18              about complaints no later than 24 hours after receipt; (c) Air Control
     19
                     employees are encouraged to make complaints directly to the Consultant; (d)
     20

     21              investigations will be conducted by the Consultant; (e) the investigation of a
     22
                     complaint will begin no later than two (2) business days after its receipt by
     23
                     the Consultant and be completed within fifteen (15) business days, unless
     24

     25              extenuating circumstances warrant otherwise; (f) Defendant will follow the
     26
                     Consultant’s decisions about remedial action to be taken upon substantiation


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      1
                     of a complaint; (g) to the maximum extent feasible, confidentiality for the

      2              person bringing complaints about sexual harassment and retaliation will be
      3
                     maintained; (h) the findings and corrective action be memorialized in a
      4

      5
                     written report including, at a minimum, the allegations of the complaint, the

      6              identities of all named witnesses, all witness statements, a summary of
      7
                     documentary evidence, an explanation of investigative findings and a
      8

      9
                     description of corrective action taken, if any; and (i) the results of each

     10              investigation, including a general description of the remedial actions taken
     11
                     or proposed, if any, be communicated to the complainant within five (5)
     12

     13
                     business days after the conclusion of the investigation.

     14          24.Within ninety (90) days from the date of entry of this Consent Decree,
     15
                     Defendant shall distribute a copy of its anti-discrimination policies either in
     16

     17              paper or electronic form to all employees and shall make the policies readily

     18              accessible electronically and physically onsite for all employees for review.
     19
                     These policies will also be distributed within ten (10) days to every
     20

     21              employee hired or re-hired during the duration of this Decree.
     22
                 25.Defendant shall state their commitment as an Equal Opportunity Employer
     23
                     by including the following text on all application materials, including paper
     24

     25              and online versions, highlighted in bold text no smaller than 12-point font:
     26
                     “Discrimination in all forms, including sexual harassment, is unacceptable.


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      1
                     We are committed to a workplace free from discrimination and retaliation.”

      2              The application also will contain the contact information for the Consultant
      3
                     who will be charged with receiving, investigating and responding to
      4

      5
                     complaints of discrimination.

      6          D. EQUAL EMPLOYMENT OPPORTUNITY TRAINING
      7
                 26.Not later than sixty (60) days after entry of this Consent Decree, Defendants
      8

      9
                     shall ensure that Maxim Johnston attends one-on-one training sessions

     10              amounting to no less than eight (8) hours concerning sexual harassment and
     11
                     retaliation. The training shall be live, interactive instruction and can be
     12

     13
                     conducted either in-person or through an online communication tool or

     14              platform. Training content shall focus on sexual harassment accountability
     15
                     and power dynamics in the workplace with an emphasis on workplace
     16

     17              culture, dignity, and respect for all employees. The training shall

     18              incorporate concepts described in the EEOC June 2016 Report of the Select
     19
                     Task Force on the Study of Harassment in the Workplace and as described in
     20

     21              Paragraphs 22-23. The training shall emphasize employer best practices for
     22
                     responding to employee complaints of sexual harassment and retaliation or
     23
                     employer observations of such conduct in the workplace. These training
     24

     25              sessions shall be developed and conducted by a third party with experience
     26
                     training individuals accused of sexual harassment or retaliation stemming


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      1
                     from complaining about sexual harassment. The identification of the trainer

      2              and any training materials must be submitted to the EEOC for review and
      3
                     comment no later than twenty-one (21) days prior to the first training
      4

      5
                     session. Within fifteen (15) days of receipt, the EEOC will advise

      6              Defendant of any comments. Defendant shall pay the cost of these training
      7
                     sessions. Defendant shall certify to the EEOC that Mr. Johnston received
      8

      9
                     eight (8) hours of training/counseling required by this paragraph within

     10              seven (7) days of completion of the training.
     11
                 27.Not later than one hundred twenty (120) days after entry of this Consent
     12

     13
                     Decree and annually thereafter for the length of the Consent Decree,

     14              Defendant shall provide in-person interactive EEO training seminar to all its
     15
                     officers, directors, managers, supervisors, and human resource professionals.
     16

     17              Maxim Johnston need not attend this initial training, although he shall be

     18              required to attend all annual trainings thereafter, and the individual training
     19
                     required by Paragraph 26. These annual EEO trainings shall be no less than
     20

     21              four (4) hours in duration, and include, at a minimum, an overview of Title
     22
                     VII with special emphasis on Defendant’s EEO policies relating to sexual
     23
                     harassment and retaliation; Defendant’s complaint and investigation
     24

     25              procedures; the duty to notify the Consultant about any complaint of sexual
     26
                     harassment or retaliation it receives within 24 hours, as well as any incidents


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      1
                     of sexual harassment or retaliation these officers, directors, managers,

      2              supervisors, and human resource professionals observe or become aware of;
      3
                     and that retaliation against an employee or applicant who reports harassment
      4

      5
                     or discrimination is prohibited. Training content shall include focus on

      6              sexual harassment accountability and power dynamics in the workplace with
      7
                     an emphasis on workplace culture, dignity, and respect for all employees.
      8

      9
                     Training content shall incorporate concepts described in the EEOC June

     10              2016 Report of the Select Task Force on the Study of Harassment in the
     11
                     Workplace and as described in Paragraphs 22-23. The training shall
     12

     13
                     emphasize employer best practices as identified in EEOC June 2016 Report

     14              of the Select Task Force on the Study of Harassment in the Workplace for
     15
                     responding to employee complaints of sexual harassment and retaliation or
     16

     17              employer observations of such conduct in the workplace. Thereafter,

     18              Defendant shall provide this training to all employees hired or promoted into
     19
                     the role of manager, supervisor or human resource professionals within
     20

     21              thirty (30) days of assuming that position.
     22
                 28.Not later than one-hundred and twenty (120) days after entry of this Consent
     23
                     Decree and annually thereafter, Defendant shall provide an in-person
     24

     25              interactive EEO training seminar to all its employees who are not officers,
     26
                     directors, managers, supervisors, and human resource professionals. These


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      1
                     EEO trainings for all employees shall be no less than two (2) hours in

      2              duration, and include, at a minimum, an overview of Title VII with special
      3
                     emphasis on Defendant’s EEO policies relating to sexual harassment and
      4

      5
                     retaliation; Defendant’s complaint and investigation procedures and contact

      6              information for the Title VII Consultant who will receive and investigate
      7
                     discrimination complaints, including sexual harassment, and retaliation;
      8

      9
                     bystander intervention techniques when employees witness discrimination,

     10              harassment or retaliation occurring; that retaliation against an employee or
     11
                     applicant who reports harassment or discrimination is prohibited; and
     12

     13
                     contact information for EEOC as a resource for inquiries and to report

     14              discrimination, harassment and retaliation. In addition, after the first
     15
                     training, Defendant shall provide either in person or through an online–
     16

     17              interactive module EEO training to new hires within ninety (90) days of the

     18              employee’s hire date.
     19
                 29.The trainings described in Paragraphs 27-28 shall be developed and
     20

     21              conducted by a third party, which may be the Consultant, with established
     22
                     experience conducting anti- discrimination and anti-retaliation training and
     23
                     workplace investigations. All training materials and identification of the
     24

     25              trainer must be submitted to the EEOC for review and comment no later than
     26
                     thirty (30) days prior to holding the first training sessions. Within fifteen


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      1
                     (15) days of receipt, the EEOC will advise Defendant of any comments.

      2              Defendant shall provide the trainings described in Paragraphs 27-28 at its
      3
                     own cost. EEOC reserves the right to attend any of the training sessions
      4

      5
                     described in Paragraphs 26-28 upon request.

      6          30.If Defendant modifies the EEO trainings identified in Paragraphs 27-28
      7
                     during the duration of the Decree, Defendant shall submit to the EEOC for
      8

      9
                     its review and comment the proposed modifications no later than thirty (30)

     10              days before adoption. Within fifteen (15) days of receipt, the EEOC will
     11
                     advise Defendants of any comments.
     12

     13
                 31.Defendant shall notify the EEOC of the completion of the annual training

     14              sessions described in Paragraphs 27-28 and shall specify the names and job
     15
                     titles of the individuals who participated in and completed the training. This
     16

     17              information shall be provided as part of the annual reports Defendant

     18              submits to the EEOC.
     19
                 E. POLICIES DESIGNED TO PROMOTE ACCOUNTABILITY
     20

     21          32.Within ninety (90) days from the date of entry of this Consent Decree and
     22
                     for its duration, Defendant shall adopt and implement policies and
     23
                     procedures that specifically advise all owners, officers, managers,
     24

     25              supervisors, and human resource personnel of their duty to ensure
     26
                     compliance with its EEO anti-discrimination policies, including Title VII,


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      1
                     and the prohibition against retaliation. Defendant shall impose discipline, up

      2              to and including termination of employment, upon any officer, supervisor,
      3
                     manager, hiring official, or human resources personnel, who it determines
      4

      5
                     discriminates, harasses or retaliates against any applicant and/or employee.

      6              These policies and procedures shall be provided to the EEOC for review and
      7
                     comment no later than thirty (30) days prior to implementation. Within
      8

      9
                     fifteen (15) business days of receipt, the EEOC will advise the Defendant of

     10              any comments.
     11
                 F. NON-DISCLOSURE OF INFORMATION
     12

     13
                 33.Defendant shall ensure that no charge, allegation of discrimination or

     14              reference to this lawsuit against Defendant, is included in the personnel
     15
                     records of the Charging Parties or the Claimants who are recovering
     16

     17              settlement monies as provided in this Consent Decree. Defendant may

     18              retain this information, if any, in a file separate and apart from the personnel
     19
                     records. Defendant shall not disclose any information or refer to any charge
     20

     21              of discrimination or this lawsuit in responding to requests for information
     22
                     about the Charging Parties or any of the Claimants. When fielding inquiries
     23
                     about the Charging Parties or any Claimant who is recovering settlement
     24

     25              monies as provided in this Consent Decree, consistent with its standard
     26
                     practice, Defendant shall provide the dates of employment and positions


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      1
                     held.

      2          G. REPORTING
      3
                 34.Defendant and its successors shall report to the EEOC during the duration of
      4

      5
                     this Consent Decree. The reporting period will run from the date of entry of

      6              this Consent Decree. The reports shall be in writing and submitted on a
      7
                     annual basis during the reporting period to: EEOC-
      8

      9
                     SEFO_COMPLIANCE@eeoc.gov and SEFO-AIRCONTROL@eeoc.gov.

     10              These annual reports shall contain the following information and
     11
                     attachments:
     12

     13
                          a. Certification that Defendant has:

     14                           i. Continued to maintain its written policy and procedures and
     15
                                      distributed copies of its policies as described in Paragraphs 20-
     16

     17                               25;

     18                          ii. Complied with the Notice Posting requirement in Paragraph 36;
     19
                                iii. Complied with the training provisions enumerated in this
     20

     21                               Consent Decree, as provided in Paragraphs 26-31, and provided
     22
                                      a list of all attendees, with job titles, for each training
     23
                                      completed;
     24

     25                         iv. Continued to maintain written policies and procedures to
     26
                                      promote accountability as required by Paragraph 32; and


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      1
                                  v. Complied with all other provisions of this Consent Decree.

      2                   b. Copies of the following documents shall be included with each annual
      3
                               report:
      4

      5
                                  i. A copy of the EEO policy and procedures maintained in

      6                               accordance with the provisions of this Consent Decree;
      7
                                 ii. A copy of its current EEO policy and a list of any changes,
      8

      9
                                      modifications or revisions to its EEO policies and procedures, if

     10                               any, which concern or affect the subjects of discrimination,
     11
                                      harassment or retaliation;
     12

     13
                                 iii. A summary report of the resolution of each internal formal or

     14                               informal discrimination, harassment, or retaliation complaint
     15
                                      made by employees or applicants, including:
     16

     17                                   1. Identification of all individuals involved, including their

     18                                       titles and work locations;
     19
                                          2. The particulars of the complaint;
     20

     21                                   3. A summary of the investigation conducted by the
     22
                                              Consultant according to the provisions of Paragraph 23
     23
                                              above;
     24

     25                                   4. Investigation determination and any corrective action
     26
                                              taken;


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      1
                                          5. Name(s) and title of individual(s) who received,

      2                                       investigated and or otherwise addressed and or took
      3
                                              action based on the complaint; and
      4

      5
                                          6. The home address, home and cell phone numbers, and

      6                                       personal e-mail address for any complainants.
      7
                 35.During the pendency of this Consent Decree, Defendant shall make a
      8

      9
                     representative with knowledge available for audits upon request by EEOC to

     10              determine compliance with this Consent Decree. EEOC shall provide notice
     11
                     of audit subject matter not later than fourteen (14) business days in advance
     12

     13
                     but, at a minimum, the audit shall include whether Defendant have received

     14              any complaints about harassment or retaliation. Any requested audit will be
     15
                     conducted at a mutually agreeable time and place.
     16

     17          H. POSTING

     18          36.Defendant shall post a Notice to All Employees within five (5) days of entry
     19
                     of this Consent Decree. This Notice is attached as Exhibit A to this Consent
     20

     21              Decree. The Notice shall be conspicuously posted on a bulletin board at all
     22
                     Defendant’s for the duration of the Consent Decree.
     23

     24

     25                                         VI.      ENFORCEMENT
     26
                 37.If the EEOC determines that Defendant or its successors have not complied


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      1
                     with the terms of this Consent Decree, the EEOC shall provide written

      2              notification of the alleged breach to Defendant or its successors. The EEOC
      3
                     shall not petition the Court for enforcement of this Consent Decree for at
      4

      5
                     least forty-five (45) days after providing written notification of the alleged

      6              breach. The EEOC and Defendant or its successors shall utilize the 45-day
      7
                     period to engage in good-faith efforts to resolve the dispute.
      8

      9

     10                            VII.      RETENTION OF JURISDICTION
     11
                 38.The United States Court for the Eastern District of Washington shall dismiss
     12

     13
                     this case with prejudice but retain jurisdiction over this matter for the

     14              duration of this Consent Decree for enforcement purposes.
     15

     16

     17                          VIII.      DURATION AND TERMINATION
     18          39.This Consent Decree shall be in effect for five (5) years from the date of
     19
                     entry of the Decree. If the EEOC petitions the Court for breach of this
     20

     21              Consent Decree, and the Court finds Defendant to be in violation of the
     22
                     terms of the Consent Decree, the Court may extend the duration of this
     23
                     Consent Decree.
     24

     25

     26
                     DATED this 5th day of April, 2022.


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